 Case 8:19-cv-02108-SDM-TGW Document 1 Filed 08/22/19 Page 1 of 5 PageID 1



                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

JOSEPH CIRIGLIANO,

        Plaintiff,

v.                                                        Case No.: 8:19-cv-02108

CAPITAL ONE SERVICES, LLC,

      Defendant.
_____________________________________/

                          COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW the Plaintiff, JOSEPH CIRIGLIANO, by and through undersigned

counsel, sues the Defendant, CAPITAL ONE SERVICES, LLC, and alleges as follows:

                                JURISDICTION AND VENUE

        1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331, 1367 and

1441(b).

        2.      Venue lies within United States District Court for the Middle District of Florida,

Tampa Division because a substantial part of the events giving rise to this claim occurred in this

Judicial District and is therefore proper pursuant to 28 U.S.C. 1391(b).

                                            PARTIES

        3.      Plaintiff, JOSEPH CIRIGLIANO (hereinafter referred to as “Plaintiff”), was a

resident of Pasco County, Florida.

        4.      Defendant, CAPITAL ONE SERVICES, LLC (hereinafter referred to as

“Defendant”), was a for profit foreign limited liability company, authorized and doing business in

this Judicial District.




                                           Page 1 of 5
 Case 8:19-cv-02108-SDM-TGW Document 1 Filed 08/22/19 Page 2 of 5 PageID 2



                                   GENERAL ALLEGATIONS

       5.        At all times material, Plaintiff was an employee of the Defendant within the

meaning of the Family and Medical Leave Act (“FMLA”).

       6.        At all times material, Plaintiff was qualified to perform his job duties within the

legitimate expectations of his employer – the Defendant.

       7.        Plaintiff has retained the undersigned counsel to represent him in this action and is

obligated to pay them a reasonable fee for their services.

                                   FACTUAL ALLEGATIONS

       8.        Plaintiff began his employment with Defendant in approximately July 1998, as a

Supervisor.

       9.        Plaintiff was diagnosed with and sought treatment for PTSD and depression in

approximately October of 2018.

       10.       Around the same time, Plaintiff disclosed his serious health condition to his

manager, Erin Groff, and began utilizing his approved intermittent FMLA leave.

       11.       Plaintiff, prior to applying for and utilizing FMLA, had never been issued a write

up or warning.

       12.       Plaintiff’s work environment immediately began to deteriorate. More specifically,

Ms. Groff began securitizing Plaintiff’s work and writing him up. On one occasion, during a write

up, Plaintiff again explained to Ms. Groff what he was going through health wise and she made a

comment something like, “We’ve heard about this to ad nauseam.”

       13.       In addition, a few members of management, including Ms. Groff, were walking

behind Plaintiff and he overhead someone make a comment something like, “Don’t get near him,

he’s crazy,” appearing to reference the serious health condition suffered by Plaintiff.



                                             Page 2 of 5
 Case 8:19-cv-02108-SDM-TGW Document 1 Filed 08/22/19 Page 3 of 5 PageID 3



       14.     On or about May 19, 2019, Plaintiff was terminated by Ms. Groff.

                                     COUNT I
                     FAMILY MEDICAL LEAVE ACT – INTERFERENCE

       15.     Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations stated in

Paragraphs one (1) through fourteen (14).

       16.     Plaintiff is an individual entitled to protection under the Family and Medical Leave

Act (FMLA), 29 U.S.C. §2601, et seq.

       17.     Plaintiff is an eligible employee within the meaning of the FMLA because Plaintiff

worked for Defendant for twelve (12) months, had at least 1,250 hours of service for the Defendant

during twelve (12) months immediately preceding his FMLA leave, and worked at a location

where the Defendant had at least fifty (50) employees within seventy-five (75) miles.

       18.     Defendant is a covered employer under the FMLA in that they had fifty (50) or

more employees in twenty (20) or more work weeks in the current or preceding calendar year.

       19.     Plaintiff suffered from a serious health condition within the meaning of the FMLA.

       20.     Defendant’s actions interfered with Plaintiff’s lawful exercise of his FMLA rights

among other actions.

       21.     Defendant’s actions constitute violations of the FMLA.

       22.     As a result of Defendant’s unlawful actions, Plaintiff has suffered and will continue

to suffer damages.

       WHEREFORE, Plaintiff, JOSEPH CIRIGLIANO, prays for judgment against the

Defendant, CAPITAL ONE SERVICES, LLC, and for the following damages:

               a.      Back pay and benefits;

               b.      Prejudgment interest on back pay and benefits;

               c.      Front pay and benefits;


                                            Page 3 of 5
 Case 8:19-cv-02108-SDM-TGW Document 1 Filed 08/22/19 Page 4 of 5 PageID 4



               d.     Liquidated damages;

               e.     Attorneys’ fees and costs;

               f.     Injunctive relief; and

               g.     For any other relief, this Court deems just and equitable.


                                   COUNT II
                    FAMILY MEDICAL LEAVE ACT – RETALIATION

       23.     Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations stated in

Paragraphs one (1) through fourteen (14).

       24.     Defendant has retaliated against Plaintiff in violation of the FMLA in that

Plaintiff’s employment was terminated after he exercised his right to utilize qualified FMLA leave.

       25.     Defendant’s actions constitute a violation of the FMLA.

       26.     As a result of Defendant’s actions, Plaintiff has suffered and will continue to suffer

damages.

       WHEREFORE, Plaintiff, JOSEPH CIRIGLIANO, prays for judgment against the

Defendant, CAPITAL ONE SERVICES, LLC, and for the following damages:

               a.     Back pay and benefits;

               b.     Prejudgment interest on back pay and benefits;

               c.     Front pay and benefits;

               d.     Liquidated damages;

               e.     Attorneys’ fees and costs;

               f.     Injunctive relief; and

               g.     For any other relief, this Court deems just and equitable.




                                            Page 4 of 5
 Case 8:19-cv-02108-SDM-TGW Document 1 Filed 08/22/19 Page 5 of 5 PageID 5



                                DEMAND FOR JURY TRIAL

       27.    Plaintiff demands a trial by jury on all issues so triable.

Dated this 22nd day of August, 2019.

                                              FLORIN GRAY BOUZAS OWENS, LLC

                                              /s/ Hunter A. Higdon________________
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                                            Page 5 of 5
